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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. CR S-99-0433 WBS GGH P

12           vs.

13   SON VAN NGUYEN,

14                  Movant.                               ORDER

15                                               /

16                  For the reasons set forth in the memorandum filed under seal, movant Nguyen’s

17   request for further investigative monies is denied without prejudice to a prima facie showing of

18   actual innocence.

19                  In addition, the accompanying memorandum is to be filed under seal. The United

20   States Attorney shall not be served with the memorandum.

21   DATED: 03/14/11

22                                                        /s/ Gregory G. Hollows

23                                                        UNITED STATES MAGISTRATE JUDGE

24   nguy433.ord

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